Case 2:05-cr-20161-SH|\/| Document 24 Filed 08/29/05 Page 1 of 2 Page|D 30

UNITED STATES DISTR!CT CoURT F"-ED ev,__“_

FOR THE D‘c‘
WESTERN DISTRICT OF TENNESSEE 05 AUG 29 FH 5_ oh
*******************#**************************************************730&&§********
* Cl£PK us immateon
UNITED S'I'ATES OF AMERICA, * tag 5;_: ; wst
* "“%
vs. * 05-20161 Ma
k
CORRIE SHAWN COUSAR, *
*

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUDUM

Scott F. Leary applies to the Court for a Writ to have CORRIE SHAWN COUSAR, DOB 10/03/72,
Register# 00351351 now being detained in the Shelby County Jail, appear before the Honorable S. Thornas
Anderson, on Thursday, September 8, 2005 at 2:00 p.m., FOR an INITIAL APPEARANCE, and for such
other appearances as this Court may direct.

Respectfully submitted th` day of August, 2005.

Respectfully submitted,

TERRELL L. H:.\
United States il
941 44
SCOTT F. LEARY
Assistant United States A ' ey
167 N. Main, Room 800
Memphis, TN 38103
(#022357 Tennessee)

    

  
 

   
 
   
 

*******************************************************************#*****************

Upon consideration of the foregoing Applicatiori,

DAVID G. JOLLY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
MARK LUTTRELL/DAVID MH_.LS ,SHERIFF/WARDEN, WEST TENNESSEE STATE PENITENTIARY

YOU ARE HEREBY COMMANDED to have CORRIE SHAWN COUSAR, DOB 10/03/72,
Register# 00351351 appear before the Honorabie S. Thomas Anderson at the date and time aforementioned

ENTERED this jj day of August, 2005.

 

HoNoRABLE TU‘ M. PHAM
This dochent entered on the docket sheet in compliance Umted States Magl$tl”at€ Judg€
with me 55 and/or saib) mch on _XLE_' '

27

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20161 Was distributed by faX, mail, or direct printing on
Septernber 1, 2005 to the parties listed.

 

 

J. Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

